 

Case 7:19-cv-00371 Document1 Filed on 10/28/19 in TXSD Page 1 of 2

United States Distriot Court
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United District Court rm ibis o Teas
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Southern district of texas I 2019
David. Bractoy, Clon
Hidalgo & Starr Division ‘avid J. Bradley, Cloris

Linda Moreno
Versus

City of Edinburg
415 W University Dr.
Edinburg TX 78540
Original Complaint

On 2006 |, Linda Moreno was hired by the City of Edinburg (located at
415 W University Dr. Edinburg TX 78540) as a par time worker. | was
hired to work 30 hours a week a total of 1560 hours a year. The city
had an obligation to enroll eligible employees who worked at least
about 1000 hours a year into their cities retirement plan with TMRS.
However, the city failed to live up to those obligations. They improperly
denied benefits to eligible employees and also breach of fiduciary
responsibility towards employees.

On October of 2015 the city held a meeting for par time workers to
attend. There at the meeting we were first introduced to TMRS and
were also obligated to enroll for the first time. Although enrolled on
October, contributions were not submitted to TMRS until March of
2016 (delayed another 5 to 6 months).

The fact that the City of Edinburg failed to enroll me into TMRS when | _
was first hired was brought to their attention. However, they never _
offered to fully compensate me for the entire benefits | would have
been entitled to under TMRS. |
 

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The City of Edinburg terminated my job on March of 2019. After
working 13 to 14 years | was left without any retirement benefits from
the city.

For this reason, | am proceeding with legal action against the City of
Edinburg. | am seeking monetary compensation for the maximum
damages |’m entitled to by law...

1. For failure to set up my retirement plan properly in a timely fashion,
which has caused me my retirement benefits (income now and in the
future).

2. Mental stress and inconvenience of having to go through the courts
to obtain my retirement benefits that | earned after working 13 to 14
years for the City of Edinburg.

3. And all other damages awarded to plaintiff for violations they
committed in not fulfilling their obligations as an employer to their
employees.

Linda Moreno
2906 E Davis Rd
Edinburg Tx 78542

 
